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                                                                                                           Pg 1 of 42

 Fill in this information to identify the case:

                2070 Restaurant Group LLC
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        18-12323
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         775,500.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           775,500.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          170,106.63
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          196,192.84



4. Total liabilities ...........................................................................................................................................................................          366,299.47
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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                                                                       Pg 2 of 42
      Fill in this information to identify the case:

                    2070 Restaurant Group LLC
      Debtor name __________________________________________________________________



                                                                                                                                         Check if this is an
                                              Southern District of New York
      United States Bankruptcy Court for the:_______________________________

                                 18-12323
      Case number (If known):   _________________________                                                                                    amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Abynissan Development Corp.             Princess Palmer             Commercial Lease        Disputed
1    2283 Adam Clayton Powell Blvd.
     7th Avenue
                                                                                                                                                      122,063.30
     New York, NY, 10030


     Commissioner of State Insurance Fund                                No Sub Type
2    c/o Michael Totaro, Esq.
     199 Chruch St., 14th Floor
                                                                                                                                                      91,239.49
     New York, NY, 10007

     Ray Hill                                                            Promissory Note         Disputed
3    2070 Adam Clayton Powell Blvd                                                               Contingent
     New York, NY, 10027
                                                                                                                                                      50,000.00


     Sysco Metro New York, LLC                                           Suppliers or Vendors
4    20 Theodore Conrad Drive
     Jersey City, NJ, 07305                                                                                                                           9,312.24


     ConEd                                                               Suppliers or Vendors
5    4 Irving Place
     Room 1875-S                                                                                                                                      7,960.00
     New York, NY, 10003

     US Foods Inc.                                                       Suppliers or Vendors
6    c/o Meyers Saxon & Cole
     3620 Quentin Road                                                                                                                                3,591.25
     Brooklyn, NY, 11234


     Spectrum Business                                                   Services
7    41-61 Kissena Blvd
                                                                                                                                                      2,120.82
     Flushing, NY, 11355

     Multi-Flow Industries LLC
8    1434 County Line Road
     Huntingdon Valley, PA, 19006                                                                                                                     721.35




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                                                                     Pg 3 of 42
                   2070 Restaurant Group LLC                                                                          18-12323
    Debtor        _______________________________________________________                     Case number (if known)_____________________________________
                  Name




     Name of creditor and complete         Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                        professional           unliquidated,   total claim amount and deduction for value of
                                                                        services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                               Total claim, if    Deduction for       Unsecured
                                                                                                               partially          value of            claim
                                                                                                               secured            collateral or
                                                                                                                                  setoff
     ADT Security Services
9    3190 S. Vaughn Way
     Aurora, CO, 80014                                                                                                                               423.88



10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                                                                         Pg 4 of 42
  Fill in this information to identify the case:

               2070 Restaurant Group LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
  Case number (If known):
                                 18-12323
                                _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   
   
            No. Go to Part 2.
    ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    500.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                  Type of account              Last 4 digits of account number
    3.1. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 500.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   
    ✔


            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                               page 1
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Debtor           2070 Restaurant Group LLC
                _______________________________________________________  Pg 5 of 42                            18-12323
                                                                                        Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔




                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s


      No. Go to Part 5.
13. Does the debtor own any investments?


      Yes. Fill in the information below.
      ✔




                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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               2070 Restaurant Group LLC
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Debtor            _______________________________________________________  Pg 6 of 42     Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.



     
24. Is any of the property listed in Part 5 perishable?


     
            No
            Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     
     
            No
            Yes. Book value _______________          Valuation method____________________ Current value______________


     
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


     
            No
            Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                2070 Restaurant Group LLC
               _______________________________________________________     Pg 7 of 42                            18-12323
                                                                                          Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Restaurant Furniture
                                                                                    5,000.00
                                                                                  $________________   ____________________       Unknown
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 0.00
                                                                                                                               $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes

     
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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 Debtor
             2070 Restaurant Group LLC
                _______________________________________________________
                                                                                                              18-12323
                                                                                       Case number (if known)_____________________________________
                Name
                                                                        Pg 8 of 42

Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                      Net book value of     Valuation method used     Current value of
                                                                             debtor's interest     for current value         debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                             (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________          $________________      ____________________    $______________________

    47.2___________________________________________________________          $________________      ____________________    $______________________

    47.3___________________________________________________________          $________________      ____________________    $______________________

    47.4___________________________________________________________          $________________      ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________           $________________      ____________________    $______________________

    48.2__________________________________________________________           $________________      ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________           $________________      ____________________    $______________________

    49.2__________________________________________________________           $________________      ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Restaurant Equipment
    ______________________________________________________________
                                                                               5,000.00
                                                                             $________________      ____________________      Unknown
                                                                                                                            $______________________


51. Total of Part 8.                                                                                                          0.00
                                                                                                                            $______________________
    Add lines 47 through 50. Copy the total to line 87.




     
52. Is a depreciation schedule available for any of the property listed in Part 8?
     ✔
     
          No
          Yes



     
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     ✔
     
          No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                             page 5
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 Debtor           _______________________________________________________    Pg 9 of 42     Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1
       2070 Adam Clayton Powell Blvd                           Leasehold
       New York, NY 10036                                                                                                           Unknown
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.



       
57. Is a depreciation schedule available for any of the property listed in Part 9?
       ✔
       
            No
            Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔
       
            No
            Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔




        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
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Debtor            2070 Restaurant Group LLC
                 _______________________________________________________ Pg 10 of 42                           18-12323
                                                                                        Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    
          No
          Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    
          No
          Yes


    
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


    
          No
          Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    
           No. Go to Part 12.
      ✔
           Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable

                                                                                                                                  =
     Description (include name of obligor)

     ______________________________________________________
                                                                       _______________     –   __________________________              $_____________________
                                                                       Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                       775,000.00
                                                                                                                                       $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                        $_____________________
   ____________________________________________________________                                                                        $_____________________
78. Total of Part 11.
                                                                                                                                         775,000.00
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.



    
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


    
          No
    ✔     Yes

Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                   page 7
              18-12880-jlg         Doc 1
                2070 Restaurant Group LLC
                                                          Filed 09/24/18                 Entered 09/24/18 10:56:44 18-12323     Main Document
Debtor            _______________________________________________________               Pg 11 of 42    Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         500.00
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                         0.00
                                                                                                       $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                         0.00
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                         0.00
                                                                                                       $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                         0.00
                                                                                                       $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                         0.00
                                                                                                       $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                                               0.00
                                                                                                                                             $________________

                                                                                                         0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                  +      775,000.00
                                                                                                       $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                         775,500.00
                                                                                                       $_______________
                                                                                                                                              0.00
                                                                                                                                             $________________
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                                              +   91b.




                                                                                        775,500.00                                                                775,500.00
                                                                                                                                                                 $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            18-12880-jlg           Doc 1    Filed 09/24/18    Entered 09/24/18 10:56:44 Main Document
                2070 Restaurant Group LLC                    Pg 12 of 42               18-12323
 Debtor 1                                                       _                 Case number (if known)
               First Name    Middle Name    Last Name



                                                Continuation Sheet for Official Form 206 A/B
74) Causes of action against third parties (whether or not a lawsuit has been filed)

Lawsuit against Sava Damages                                 600,000.00                         600,000.00
nna Rae

Lawsuit against land Damages                                 175,000.00                         175,000.00
lord




Official Form 206 A/B                                        Schedule A/B: Property
              18-12880-jlg                 Doc 1           Filed 09/24/18            Entered 09/24/18 10:56:44                        Main Document
  Fill in this information to identify the case:
                                                                                    Pg 13 of 42
              2070 Restaurant Group LLC
  Debtor name __________________________________________________________________
                                          ______________________
  United States Bankruptcy Court for the: Southern                District
                                                    District of New  York  of _________


                                                                                                                                                        Check if this is an
                                                                                         (State)
                                 18-12323
  Case number (If known):       _________________________
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim


      __________________________________________                                                                                 $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
                                                                 
                                                                 
    Date debt was incurred           __________________              No
    Last 4 digits of account                                         Yes


                                                                 
    number                   _________________                   Is anyone else liable on this claim?

                                                                 
    Do multiple creditors have an interest in the                    No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
    same property?

     Yes. Specify each creditor, including this creditor,       As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 
                                                                     Contingent

                                                                 
                                                                     Unliquidated
                                                                     Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 
                                                                     No
    same property?
     No
                                                                     Yes

     Yes. Have you already specified the relative               
                                                                 Is anyone else liable on this claim?

                                                                 
                                                                     No

         
              priority?
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                
                                                                     Contingent

                                                                 
              Yes. The relative priority of creditors is             Unliquidated
                  specified on lines _____                           Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          0
                                                                                                                                                              page 1 of ___
                 18-12880-jlg         Doc 1       Filed 09/24/18           Entered 09/24/18 10:56:44                   Main Document
   Fill in this information to identify the case:                         Pg 14 of 42
   Debtor
                    2070 Restaurant Group LLC
                    __________________________________________________________________

   United States Bankruptcy Court for the: ________________________________
                                           Southern District of New York
   Case number       18-12323
                     ___________________________________________


                                                                                                                                     Check if this is an
    (If known)



                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s



    
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).


    
         No. Go to Part 2.
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           91,239.49
    Commissioner of State Insurance Fund                                                                                            $_________________

                                                            
                                                            Check all that apply.
    c/o Michael Totaro, Esq.
                                                            
                                                                Contingent

                                                            
    199 Chruch St., 14th Floor                                  Unliquidated
    New York, NY, 10007                                         Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________


                                                            
    Last 4 digits of account                                Is the claim subject to offset?

                                                             Yes
    number      2882
                _______________________                      ✔ No


    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 IRS                                                     As of the petition filing date, the claim is: $______________________
                                                                                                            34,537.00                 34,537.00
                                                                                                                                    $_________________

                                                            
                                                            Check all that apply.
    PO Box 7346
                                                            
    Philadelphia, PA, 19101                                     Contingent

                                                            
                                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    2015, 2016, 2017, 2018
    _________________________________

    Last 4 digits of account

                                                            
    number      _______________________                     Is the claim subject to offset?

                                                             Yes
                                                             ✔ No

    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           974.23                    974.23
    NY State Dept of Labor                                                                                                          $_________________

                                                            
                                                            Check all that apply.
    Harriman State Office Building
                                                            
                                                                Contingent
    Bldg. 12, Room 256
                                                            
                                                                Unliquidated
    Albany, NY, 12240                                           Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account

                                                            
    number      _______________________                     Is the claim subject to offset?

                                                             Yes
                                                             ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               5
                                                                                                                                         page 1 of ___
  Debtor
              18-12880-jlg
                2070                Doc
                     Restaurant Group LLC 1  Filed 09/24/18 Entered 09/24/18
                _______________________________________________________
                                                                                   10:56:44 18-12323   Main Document
                                                                              Case number (if known)_____________________________________
                Name                                              Pg 15 of 42
 Pa rt 1 .   Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      11,180.33                 11,180.33
                                                                                                        $______________________   $_________________
      NY State Dept of Taxation and Finance             As of the petition filing date, the claim is:

                                                        
      OPTS-Withholding Tax Account Resolution           Check all that apply.

                                                        
      WA Harriman Campus                                     Contingent

                                                        
      Brooklyn, NY, 11206                                    Unliquidated
                                                             Disputed


       Date or dates debt was incurred                   Basis for the claim:
       2016, 2017
       _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
       Last 4 digits of account
       number      5333
                   _______________________
                                                        Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                                        
                                                        
                                   8                    ✔    No
       claim: 11 U.S.C. § 507(a) (_____)
                                                             Yes

  5
2.____ Priority creditor’s name and mailing address                                                      32,175.58                  32,175.58
                                                                                                        $______________________   $_________________
      New York State Department of Finance
                                                        As of the petition filing date, the claim is:
      Bankruptcy Section
                                                        
                                                        Check all that apply.
      PO Box 5300
                                                        
                                                             Contingent
      Albany, NY, 12205
                                                        
                                                             Unliquidated
                                                             Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________

       Last 4 digits of account
                                                        Is the claim subject to offset?
       number _______________________
                                                        
                                                        
                                                        ✔
                                                             No
       Specify Code subsection of PRIORITY unsecured
                                  8                          Yes
       claim: 11 U.S.C. § 507(a) (_____)

2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:

                                                        
                                                        Check all that apply.

                                                        
                                                             Contingent

                                                        
                                                             Unliquidated
                                                             Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________                 _________________________________

       Last 4 digits of account
       number      _______________________               Is the claim subject to offset?

                                                         
                                                         
       Specify Code subsection of PRIORITY unsecured         No
       claim: 11 U.S.C. § 507(a) (_____)                     Yes


2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________


                                                        
                                                        Check all that apply.

                                                        
                                                             Contingent

                                                        
                                                             Unliquidated
                                                             Disputed


                                                         Basis for the claim:
       Date or dates debt was incurred
                                                         _________________________________
       _________________________________

       Last 4 digits of account                          Is the claim subject to offset?
       number      _______________________
                                                         
                                                         
                                                             No
       Specify Code subsection of PRIORITY unsecured
                                                             Yes
       claim: 11 U.S.C. § 507(a) (_____)


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    5
                                                                                                                                                   2 of ___
  Debtor
             18-12880-jlg          Doc
               2070 Restaurant Group LLC 1  Filed 09/24/18 Entered 09/24/18
               _______________________________________________________
                                                                                  10:56:44 18-12323   Main Document
                                                                             Case number (if known)_____________________________________
               Name                                              Pg 16 of 42
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address
                                                                           
                                                                           Check all that apply.
                                                                                                                             122,063.30
                                                                                                                           $________________________________
                                                                           
    Abynissan Development Corp.                                                 Contingent

                                                                           
    2283 Adam Clayton Powell Blvd.                                              Unliquidated
    7th Avenue                                                             ✔
                                                                                Disputed
    New York, NY, 10030                                                                            Commercial Lease
                                                                           Basis for the claim:



    Date or dates debt was incurred                                         Is the claim subject to offset?
                                                                           
                                               ___________________

                                                                           
    Last 4 digits of account number            ___________________              No
                                                                           ✔
                                                                                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:

                                                                           
    ADT Security Services                                                  Check all that apply.                             423.88
                                                                                                                           $________________________________

                                                                           
    3190 S. Vaughn Way                                                         Contingent

                                                                           
    Aurora, CO, 80014                                                          Unliquidated
                                                                               Disputed
                                                                           Basis for the claim:


                                                                           Is the claim subject to offset?
                                                                           
    Date or dates debt was incurred            ___________________

                                                                           
                                                                           ✔    No
    Last 4 digits of account number            5534
                                               __________________               Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address
                                                                           
                                                                           Check all that apply.                             7,960.00
    ConEd                                                                                                                  $________________________________

                                                                           
                                                                                Contingent
    4 Irving Place
                                                                           
                                                                                Unliquidated
    Room 1875-S                                                                 Disputed
    New York, NY, 10003
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________

                                                                           
                                                                            Is the claim subject to offset?

                                                                           
    Last 4 digits of account number            303-
                                               __________________          ✔    No
                                                                                Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             721.35
                                                                                                                           $________________________________
                                                                           
    Multi-Flow Industries LLC                                              Check all that apply.

                                                                           
    1434 County Line Road                                                       Contingent

                                                                           
    Huntingdon Valley, PA, 19006                                                Unliquidated
                                                                                Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                           
                                               ___________________

                                                                           
    Last 4 digits of account number            7460                        ✔
                                                                                No
                                               __________________
                                                                                Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Ray Hill                                                                                                                 50,000.00
                                                                                                                           $________________________________
                                                                           
                                                                           Check all that apply.
    2070 Adam Clayton Powell Blvd
                                                                           
                                                                            ✔   Contingent

                                                                           
    New York, NY, 10027                                                         Unliquidated
                                                                           ✔    Disputed
                                                                           Basis for the claim:
                                                                                                   Promissory Note

    Date or dates debt was incurred            ___________________
                                                                           
                                                                           Is the claim subject to offset?

                                                                           
    Last 4 digits of account number            __________________               No
                                                                           ✔    Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     2,120.82
                                                                                                                           $________________________________
                                                                           
    Spectrum Business                                                      Check all that apply.

                                                                           
    41-61 Kissena Blvd                                                         Contingent

                                                                           
                                                                               Unliquidated
     Flushing, NY, 11355                                                       Disputed
                                                                           Basis for the claim:    Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           
                                                                           ✔
    Last 4 digits of account number            ___________________
                                               4380                             No
                                                                                Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    5
                                                                                                                                                       3 of ___
  Debtor
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                2070 Restaurant Group LLC 1  Filed 09/24/18 Entered 09/24/18
                _______________________________________________________
                                                                                   10:56:44 18-12323   Main Document
                                                                              Case number (if known)_____________________________________
                Name                                              Pg 17 of 42
Pa rt 2 :    Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                                                                      9,312.24
                                                                    
                                                                    Check all that apply.                           $________________________________

                                                                    
 Sysco Metro New York, LLC                                              Contingent

                                                                    
 20 Theodore Conrad Drive                                               Unliquidated
 Jersey City, NJ, 07305                                                 Disputed

                                                                    Basis for the claim: Suppliers or Vendors




                                                                    
                                                                    Is the claim subject to offset?

                                                                    
                                                                    ✔
                                                                        No
       Date or dates debt was incurred       ___________________
                                                                        Yes
       Last 4 digits of account number       2152
                                             ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                      3,591.25
                                                                                                                    $________________________________
                                                                    
 US Foods Inc.                                                      Check all that apply.

                                                                    
 c/o Meyers Saxon & Cole                                                Contingent

                                                                    
 3620 Quentin Road                                                      Unliquidated
 Brooklyn, NY, 11234                                                    Disputed

                                                                    Basis for the claim: Suppliers or Vendors




                                                                    
       Date or dates debt was incurred       ___________________    Is the claim subject to offset?

                                                                    
                                                                    ✔
                                                                        No
       Last 4 digits of account number       8929
                                             ___________________
                                                                        Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                    $________________________________
                                                                    
                                                                    Check all that apply.

                                                                    
                                                                        Contingent

                                                                    
                                                                        Unliquidated
                                                                        Disputed
                                                                    Basis for the claim:



       Date or dates debt was incurred
                                                                    
                                             ___________________    Is the claim subject to offset?

                                                                    
       Last 4 digits of account number                                  No
                                             __________________
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                    $________________________________
                                                                    
                                                                    Check all that apply.

                                                                    
                                                                        Contingent

                                                                    
                                                                        Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:




                                                                    
       Date or dates debt was incurred       ___________________    Is the claim subject to offset?

                                                                    
                                                                        No
       Last 4 digits of account number       ___________________        Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                    $________________________________
                                                                    
                                                                    Check all that apply.

                                                                    
                                                                        Contingent

                                                                    
                                                                        Unliquidated
                                                                        Disputed
                                                                    Basis for the claim:




                                                                    
       Date or dates debt was incurred       ____________________   Is the claim subject to offset?

                                                                    
                                                                        No
       Last 4 digits of account number       ___________________        Yes




      Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                4 of ___
                                                                                                                                                      5
 Debtor
            18-12880-jlg          Doc
              2070 Restaurant Group LLC 1   Filed 09/24/18 Entered 09/24/18
               _______________________________________________________
                                                                                  10:56:44 18-12323   Main Document
                                                                             Case number (if known)_____________________________________
               Name                                              Pg 18 of 42
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           170,106.63
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      196,192.84
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 366,299.47
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                             5
                                                                                                                                       5 of ___
                                                                                                                                  page __
              18-12880-jlg            Doc 1        Filed 09/24/18         Entered 09/24/18 10:56:44                      Main Document
                                                                         Pg 19 of 42
 Fill in this information to identify the case:

             2070 Restaurant Group LLC
 Debtor name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the:_____________________________

                             18-12323                                         11
 Case number (If known):     _________________________                Chapter _____



                                                                                                                                          Check if this is an
                                                                                                                                             amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       
            No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                         Lease                                            Abysennian Development
           State what the contract or    Lessee                                           2070 Powell Blvd
 2.1       lease is for and the nature
           of the debtor’s interest
                                                                                          New York, NY, 10027

           State the term remaining
           List the contract number of
           any government contract

                                         2070 Restaurant Group, LLC                       Savanna-Rae, LLC
           State what the contract or    Purchaser                                        2070 Adam Clayton Powell Blvd
 2.2       lease is for and the nature
           of the debtor’s interest                                                       New York, NY, 10027

           State the term remaining      5 years
           List the contract number of
           any government contract


           State what the contract or
 2.3       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.4
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.5       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                               page 1 of ___
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                                                                         Pg 20 of 42
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             2070 Restaurant Group LLC

                                         Southern District of New York
 United States Bankruptcy Court for the:_______________________________

                            18-12323
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.2
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.3
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.4
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.5
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.6
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             2070 Restaurant Group LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern                    District of _________
                                                 District of New York
                                                                              (State)
Case number (If known):    18-12323
                          _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

                                                                                               
                                                                                               
           From the beginning of the                                                               Operating a business
                                                                                                                                                     0.00
                                                                                                                                    $_____________________
           fiscal year to filing date:     From ___________         to     Filing date             Other _______________________
                                                  MM / DD / YYYY


                                                                           12/31/2017          
                                                                                               
           For prior year:                       01/01/2017
                                           From ___________         to     ___________         ✔   Operating a business                         25,000.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                               ✔         Rent
                                                                                                   Other _______________________

                                                 01/01/2016                12/31/2016          
                                                                                               
           For the year before that:       From ___________         to     ___________         ✔   Operating a business                         27,000.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                              0.00
                                                                                              ___________________________          $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2017
                                                ___________         to      12/31/2017
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   Tenant
                                                                                               ___________________________                    35,000.00
                                                                                                                                   $__________________



           For the year before that:       From 01/01/2016
                                                ___________         to      12/31/2016
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                         0.00
                                                                                                                                   $__________________




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Debtor
                 2070 Restaurant Group LLC
                 _______________________________________________________                                              18-12323
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                        Dates         Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply

                                                                                                            
     3.1.



                                                                                                            
             __________________________________________        ________       $_________________                  Secured debt
             Creditor’s name


                                                                                                            
                                                                                                                  Unsecured loan repayments



                                                                                                            
                                                               ________                                           Suppliers or vendors



                                                                                                            
                                                                                                                  Services
                                                               ________                                           Other _______________________________



                                                                                                            
     3.2.



                                                                                                            
                                                               ________       $_________________                  Secured debt
             __________________________________________
             Creditor’s name

                                                                                                            
                                                                                                                  Unsecured loan repayments



                                                                                                            
                                                               ________                                           Suppliers or vendors



                                                                                                            
                                                                                                                  Services
                                                               ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________       _________      $__________________
             Insider’s name

                                                              _________

                                                              _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                              _________      $__________________

                                                              _________

                                                              _________




             Relationship to debtor

             __________________________________________



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                 2070 Restaurant Group LLC
                 _______________________________________________________                                                  18-12323
                                                                                                   Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                         Description of the property                               Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
           None
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken
                                                                Damages to Debtor property
             Abynissan Development Corp.
             __________________________________________                                                                  _______________       179,000.00
                                                                                                                                              $___________
             Creditor’s name
             2283 Adam Clayton Powell Blvd.
             7th Avenue
             New York, NY 10030
                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case

                                                                                                                                               
            Abyssinian v. 2070 Restaurant Group                                               New York Supreme Court
     7.1.                                            Eviction                                                                                  ✔
                                                                                                                                               
                                                                                                                                                   Pending



                                                                                                                                               
                                                                                                                                                   On appeal

             Case number                                                                                                                           Concluded



             _________________________________

             Case title                                                                        Court or agency’s name and address
                                                                                                                                               
                                                                                                                                               
                                                                                                                                                   Pending
     7.2.


                                                                                                                                               
                                                                                                                                                   On appeal

                                                                                                                                                   Concluded
             Case number



             _________________________________


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Debtor
                 2070 Restaurant Group LLC
                 _______________________________________________________                                                  18-12323
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


            __________________________________________                                                                       _________________   $__________
     9.1.
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                2070 Restaurant Group LLC
               _______________________________________________________                                                    18-12323
                                                                                                   Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
     ✔
            Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value

            __________________________________________
   11.1.
                                                                                                                          ______________      $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value


   11.2.    __________________________________________
                                                                                                                          ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                           were made          value


            __________________________________________                                                                     ______________      $_________

            Trustee

            __________________________________________




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Debtor
                2070 Restaurant Group LLC
               _______________________________________________________                                                  18-12323
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received    Date transfer      Total amount or
                                                               or debts paid in exchange                                   was made           value



   13.1.    __________________________________________                                                                     ________________    $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                         ________________    $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From        ____________       To   ____________




   14.2.                                                                                                       From        ____________       To   ____________




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                 2070 Restaurant Group LLC
                 _______________________________________________________                                                   18-12323
                                                                                                     Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔
     
           No. Go to Part 9.
           Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________                                                                                       ____________________
            Facility name


                                                               Location where patient records are maintained (if different from facility
                                                               address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                           Check all that apply:

                                                                                                                                           
                                                                                                                                           
                                                                                                                                               Electronically
                                                                                                                                               Paper

                                                               Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                          debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.                                                                                                                                   ____________________
            ________________________________________
            Facility name


                                                               Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔
     
           No.
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                 
                 
                     No
                     Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                 
                 
                     No. Go to Part 10.
                     Yes. Fill in below:
                        Name of plan                                                                             Employer identification number of the plan

                        _______________________________________________________________________                  EIN: ___________________________________

                     Has the plan been terminated?
                     
                     
                            No
                            Yes



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Debtor            2070 Restaurant Group LLC
                  _______________________________________________________                                                18-12323
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

                                                                                           Checking

                                                                                            Savings
   18.1.     ______________________________________        XXXX–__________                                             ___________________      $__________
            Name


                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

                                                                                           Checking

                                                                                            Savings
   18.2.     ______________________________________        XXXX–__________                                             ___________________      $__________
            Name


                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

                                                                                                                                                     
                                                                                                                                                     
             ______________________________________                                                                                                      No
            Name                                                                                                                                         Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor


                                                                                                                                                       No
                                                                                                                                                     still have it?


             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor
              2070 Restaurant Group LLC
              _______________________________________________________                                                 18-12323
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     
     ✔   No
         Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                   
                                                                                                                                              
                                                     _____________________________________                                                         Pending


                                                                                                                                              
          Case number                                Name                                                                                          On appeal

          _________________________________                                                                                                        Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     
     ✔   No
         Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor
                2070 Restaurant Group LLC
                _______________________________________________________                                             18-12323
                                                                                             Case number (if known)_____________________________________
                Name




     
 24. Has the debtor notified any governmental unit of any release of hazardous material?


     
     ✔     No
           Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor
                   2070 Restaurant Group LLC
                  _______________________________________________________                                               18-12323
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

            
            ✔     None
              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                              To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                    2070 Restaurant Group LLC
                    _______________________________________________________                                            18-12323
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     
     ✔      No
            Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                  2070 Restaurant Group LLC
                  _______________________________________________________                                            18-12323
                                                                                               Case number (if known)_____________________________________
                  Name




             Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                              inventory          other basis) of each inventory

             ______________________________________________________________________           _______        $___________________

             Name and address of the person who has possession of inventory records


   27.2.     ______________________________________________________________________
             Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                               Address                                                 Position and nature of any             % of interest, if any
                                                                                                      interest
            Genesis Foods, LLC                ,
           ____________________________       _________________________________________________       ____________________________            _______________

           ____________________________       _________________________________________________       ____________________________            _______________

           ____________________________       _________________________________________________       ____________________________            _______________

           ____________________________       _________________________________________________       ____________________________            _______________

           ____________________________       _________________________________________________       ____________________________            _______________


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control


     
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         No
     
     ✔

           Yes. Identify below.
                                                  Address                                             Position and nature of           Period during which
             Name
                                                                                                      any interest                     position or interest was
                                                                                                                                       held
             ____________________________         _____________________________________________       ______________________           _________ To _________

             ____________________________         _____________________________________________       ______________________           _________ To _________

             ____________________________         _____________________________________________       ______________________           _________ To _________

             ____________________________         _____________________________________________       ______________________           _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     
     ✔     No
           Yes. Identify below.

             Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                      description and value of                                providing the value
                                                                                      property


   30.1.     ______________________________________________________________           _________________________            _____________
             Name


                                                                                                                          _____________


                                                                                                                          _____________

             Relationship to debtor                                                                                       _____________

             ______________________________________________________________                                               _____________

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Debtor
                   2070 Restaurant Group LLC
                   _______________________________________________________                                                 18-12323
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________




     
 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


     
     ✔       No
             Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________




     
 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?


     
     ✔       No
             Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       09/24/2018
                               _________________




         
                                MM / DD / YYYY



               /s/ Bernardo Rubie
              ___________________________________________________________                              Bernardo Rubie
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing Member
              Position or relationship to debtor ____________________________________




         
         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


         
              No
         ✔    Yes




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 Debtor Name                                                                          Case number (if known)



                                               Continuation Sheet for Official Form 207
6) Setoffs

Ray Hill                                   2070 Adam Clayton Powell B
                                           lvd, New York, NY 10027




  Official Form 207                           Statement of Financial Affairs for Non-Individuals
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 Fill in this information to identify the case and this filing:

              2070 Restaurant Group LLC
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

                              18-12323
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




                                                            /s/ Bernardo Rubie
        I declare under penalty of perjury that the foregoing is true and correct.


                    09/24/2018
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Bernardo Rubie
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             United States Bankruptcy Court
                             Southern District of New York




         2070 Restaurant Group LLC
In re:                                                        Case No. 18-12323

                                                              Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               09/24/2018                        /s/ Bernardo Rubie
Date:
                                                Signature of Individual signing on behalf of debtor

                                                 Managing Member
                                                Position or relationship to debtor
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           ADT Security Services                   NY State Dept of Labor
           3190 S. Vaughn Way                      Harriman State Office Building
           Aurora, CO 80014                        Bldg. 12, Room 256
                                                   Albany, NY 12240

           Abynissan Development Corp.
           2283 Adam Clayton Powell Blvd.          NY State Dept of Taxation and Finance
           7th Avenue                              OPTS-Withholding Tax Account
           New York, NY 10030                      Resolution
                                                   WA Harriman Campus
                                                   Brooklyn, NY 11206
           Abysennian Development
           2070 Powell Blvd
           New York, NY 10027                      New York State Department of Finance
                                                   Bankruptcy Section
                                                   PO Box 5300
           Commissioner of State Insurance Fund    Albany, NY 12205
           c/o Michael Totaro, Esq.
           199 Chruch St., 14th Floor
           New York, NY 10007                      Ray Hill
                                                   2070 Adam Clayton Powell Blvd
                                                   New York, NY 10027
           ConEd
           4 Irving Place
           Room 1875-S                             Savanna-Rae, LLC
           New York, NY 10003                      2070 Adam Clayton Powell Blvd
                                                   New York, NY 10027

           IRS
           PO Box 7346                             Spectrum Business
           Philadelphia, PA 19101                  41-61 Kissena Blvd
                                                   Flushing, NY 11355

           Multi-Flow Industries LLC
           1434 County Line Road                   Sysco Metro New York, LLC
           Huntingdon Valley, PA 19006             20 Theodore Conrad Drive
                                                   Jersey City, NJ 07305
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           US Foods Inc.
           c/o Meyers Saxon & Cole
           3620 Quentin Road
           Brooklyn, NY 11234
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                                      United States Bankruptcy Court
                                                             Southern District of New York
                                               __________________________________
     In re   2070 Restaurant Group LLC

                                                                                                             Case No. _______________
                                                                                                                      18-12323



    Debtor                                                                                                    Chapter________________
                                                                                                                      11



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         7,500.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 7,500.00


          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00


     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
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                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

      _____________________
        09/24/2018
                                         _________________________________________
                                          /s/ Bruce Duke, BD0077

      Date                                     Signature of Attorney
                                         _________________________________________
                                          Bruce J. Duke, LLC

                                              ​Name of law firm
                                          Tabernacle Legal Group
                                          PO Box 1418, 648 Tabernacle Road
                                          Medford, NJ 08055
                                          bruceduke@comcast.net
